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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


LOREN OWENS,
       Plaintiff,                          Case No. 1:24-CV-00547
                                           Hon. Jane M. Beckering
v


DOES 1-133,

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                                                    Group, LLC


                              CERTIFICATE OF COMPLIANCE
                                W.D. Michigan LCivR. 7.1(d)



       I, Joshua S. Goodrich, J.D., LL.M. counsel for the Plaintiff in the above-captioned case,

hereby certify the following in compliance with Local Civil Rule 7.1(d):

Attempt to Obtain Concurrence:

       On September 26, 2024, at 4:24 AM EST, I emailed a proposed order and subpoena, along

with relevant attachments, to all opposing counsel and members of their firm listed for filing on

the Courts electronic filing system, requesting their review and concurrence pursuant to Judge

Green's Order (ECF No. 44).

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       johanna.womack@akerman.com
       The email provided an explanation of the basis for the proposed order and invited feedback

to engage in an interactive process.
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Conference with Opposing Counsel:

       On September 26, 2024, at 10:46 AM EST, I received a response from Ms. Jante Ramsey,

Esq., counsel for Defendants Long and Chuna, indicating that her team would review the proposed

order and provide a redlined version, but due to scheduling conflicts, a response could not be

provided that day. No further communication or redlined version has been received as of the filing

of this motion.

Participants in the Conference:

       Joshua S. Goodrich, J.D., LL.M. (Counsel for Plaintiff)

       Ms. Jante Ramsey, Esq. (Counsel for Defendants Long and Chuna)

Date, Time, and Duration of Conference:

       The email conference occurred on September 26, 2024, between 4:24 AM EST and 10:46

AM EST. No other response or additional discussion occurred.

Description of Issues Addressed:

       The issues addressed during the email correspondence included the contents of the

proposed order and subpoena, the requirement to narrowly tailor the subpoena, and the compliance

with the Court’s directive to submit a collaborative draft. No further issues were resolved, and no

concurrence has been provided by the opposing counsel.

       Despite reasonable efforts to confer and engage in good faith, the parties were unable to

resolve the issues, and court intervention remains necessary.
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Respectfully submitted,

Date: September 30, 2024                 /s/ Joshua S. Goodrich, J.D., LL.M.
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